                  IN THE UNITED STATES DISTRICT COURT
             FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                           STATESVILLE DIVISION
_______________________________________
                                        )
UNITED STATES OF AMERICA                )  Docket No. 5:15-cr-73-RLV
                                        )
            v.                          )
                                        )
CANDICE MARIE LOWE                      )        ORDER
_______________________________________ )



       This matter is before the Court on the Motion of the United States of America to dismiss

the charges against Defendant Candice Marie Lowe in the Bill of Indictment in the above-

captioned case without prejudice.

       It is hereby ordered that the motion be GRANTED and the charges against Defendant

Candice Marie Lowe in the above-captioned Bill of Indictment be dismissed without prejudice.



 Signed: March 2, 2017




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